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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )
      vs.                                   )     Case No. 4:07CR50 HEA
                                            )
ROBERT CONNER, ROBERT BAKER,                )
WILLIAM HART, JERRY BROWN,                  )
MAX DAVIS and JOHN BOWMAN,                  )
                                            )
            Defendants.                     )

                 OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on the Order and Report and

Recommendation, and accompanying Memorandum, of United States Magistrate

Judge Thomas C. Mummert, III, [Doc. No. 225], pursuant to 28 U.S.C. § 636(b), in

which Judge Mummert recommends that Defendants Baker, Hart, Bowman, and

Brown’s Motions to Suppress Statements, [Doc. No.’s 163, 185, 179, and 182], be

denied; that Defendants Hart and Brown’s Motions to Suppress Evidence, [Doc.

No.’s 185 and 182], be denied; that Defendant Conner’s Motion to Dismiss

Multiplicitous Counts, [Doc. No. 173], be denied; and that Defendant Hart’s Motion

for Severance, [Doc. 169] be denied. Defendants Baker and Hart have filed

Objections to the Report and Recommendation. Defendants Conner and Davis have
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not filed any objections within the prescribed time period.

      When a party objects to the magistrate judge’s report and recommendation,

the Court must conduct a de novo review of the portions of the report, findings, or

recommendations to which the party objected. See United States v. Lothridge, 324

F.3d 599, 600 (8th Cir.2003) (citing 28 U.S.C. § 636(b)(1)). This includes a de

novo review of the magistrate’s findings of fact, including any credibility

determinations. Id. The court has reviewed the entire record, including listening to

the audio recordings of the hearing held on March 26, 2007.

                                     Discussion

      The sole objection Defendant Baker raises is the finding of fact by Judge

Mummert in Paragraph 1 on page 2 of the Memorandum. Judge Mummert found

that “special Agent Bush interviewed Baker, Hart, and Bowman knowing each had

some business dealing with [Defendant] Conner which resulted in bank loans.

However, Special Agent Bush did not know prior to these interviews that any of the

three Defendants were, in fact, implicated in the illegal bank fraud scheme.”

      Baker objects to this finding arguing that Bush had in fact considered Baker

as a “possible investigative target” “for which his sole purpose in interviewing him

was to glean as much information as needed to complete his investigation, including

incriminating information for which Special Agent Bush intended on using when

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presenting his case to the United States Attorney’s Office.”

      Defendant Hart objects to Judge Mummert’s synopsis of Defendant’s initial

contact with Special Agent Bush. Defendant argues that Judge Mummert concludes

that the interview of Defendant Hart by Special Agent Bush was voluntary and was

not coerced even though Special Agent Bush knew and had concluded beforehand

that Hart was an alleged suspect implicated in the alleged bank fraud/credit card

scheme. Hart argues that Bush’s investigative goal was to gather as much

information as necessary to pursue a criminal case against Defendnat Hart, in an

effort to secure incriminating information -and/or to secure a confession from Hart,

which he could then provide tho the United States Attorney’s office. Hart argues

that Bush knew that if he had told Hart that he [Hart] was a target, suspected of

engaging in a scheme to defraud the bank, Bush either would have had to provide

Hart with his Miranda1 warnings before interviewing/interrogating and/or obtaining

a statement, or Hart would have likely exercised his constitutional right not to speak

to him, or would have requested the presence of an attorney.

      A consensual encounter does not implicate the Fourth Amendment. United

States v. Hathcock, 103 F.3d 715, 718 (8th Cir.1997). “Law enforcement officers

do not violate the Fourth Amendment’s prohibition of unreasonable seizures merely


      1
          Miranda v. Arizona, 384 U.S. 436 (1966).

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by approaching individuals on the street or in other public places and putting

questions to them if they are willing to listen.” United States v. Vera, 457 F.3d 831,

834 (8th Cir.2006), quoting United States v. Drayton, 536 U.S. 194, 200, 122 S.Ct.

2105, 153 L.Ed.2d 242 (2002). “Mere police questioning does not constitute a

seizure.” United States v. Barry, 394 F.3d 1070, 1074 (8th Cir.2005), quoting

Florida v. Bostick, 501 U.S. 429, 434, 111 S.Ct. 2382, 115 L.Ed.2d 389 (1991);

Hathcock, 103 F.3d at 719; United States v. Slater, 411 F.3d 1003, 1005 (8th

Cir.2005). A consensual encounter becomes a seizure implicating the Fourth

Amendment when, considering the totality of the circumstances, the questioning is

“so intimidating, threatening, or coercive that a reasonable person would not have

believed himself free to leave.” Hathcock, 103 F.3d at 718, quoting United States

v. McKines, 933 F.2d 1412, 1419 (8th Cir.1991) (en banc); see also Johnson, 326

F.3d at 1021; INS v. Delgado, 466 U.S. 210, 216, 104 S.Ct. 1758, 80 L.Ed.2d 247

(1984).

      The court considers

      the totality of the circumstances, “not one particular detail,” to
      determine whether a seizure occurred. See Johnson, 326 F.3d at 1022.
      Factors indicating a seizure are: the presence of several officers, a
      display of a weapon by an officer, physical touching of the person, or
      the “use of language or tone of voice indicating that compliance with
      the officer's request might be compelled.” Hathcock, 103 F.3d at 718-
      19, quoting United States v. White, 81 F.3d 775, 779 (8th Cir.1996);

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      Barry, 394 F.3d at 1075. A seizure occurs when the officer, “by
      means of physical force or show of authority, has in some way
      restrained the liberty” of a suspect. Id. at 1074, quoting Terry, 392
      U.S. at 19, 88 S.Ct. 1868.

      The question is whether by the totality of the circumstances,
      [Defendants’] liberty was restrained in such a way that a reasonable
      person would not feel free to leave. This “ ‘reasonable person test’
      presupposes an innocent person.” Id. at 1075, quoting Bostick, 501 U.S.
      at 438, 111 S.Ct. 2382.

U.S. v. Flores-Sandoval 474 F.3d 1142, 1145 (8th Cir. 2007).

      Both Defendants’ objections are without merit. Neither defendant was in

“custody” and therefore neither needed to be advised of his Miranda warnings.

Both Defendants spoke with Bush voluntarily, and neither was under arrest prior to,

during the interview, nor was either arrested after the interview. Neither was

subjected to coercive treatment, nor was either restrained or intimidated. Both

Defendants could have ended the interview at any time.

      Defendant Hart also objects to Judge Mummert’s finding that severance is not

warranted at this time. Defendant vaguely argues that he will be subjected to “guilt

by association.” Defendant has failed to establish at this point that there is a serious

risk that a joint trial would compromise his specific trial rights. Zafiro v. United

States, 506 U.S. 534, 539 (1993). The Court agrees with Judge Mummert’s

thorough analysis and well-reasoned conclusion that at this time, severance is not



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required. Defendant’s objection is overruled.

      Based upon the foregoing, Defendants’ objections are overruled and the

Court adopts Judge Mummert’s Report and Recommendation.

      Accordingly,

      IT IS HEREBY ORDERED that Defendants Baker, Hart, Bowman, and

Brown’s Motions to Suppress Statements, [Doc. No.’s 163, 185, 179, and 182], be

denied; that Defendants Hart and Brown’s Motions to Suppress Evidence, [Doc.

No.’s 185 and 182], be denied; that Defendant Conner’s Motion to Dismiss

Multiplicitous Counts, [Doc. No. 173], be denied; and that Defendant Hart’s Motion

for Severance, [Doc. 169] be denied without prejudice.

      Dated this 1st day of May, 2007.



                                               _______________________________
                                                  HENRY EDWARD AUTREY
                                               UNITED STATES DISTRICT JUDGE




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